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    1   Marc M. Seltzer (54534)                  Howard Langer (Pro Hac Vice)
        mseltzer@susmangodfrey.com               hlanger@langergrogan.com
    2   SUSMAN GODFREY L.L.P.                    LANGER GROGAN AND DIVER PC
        1900 Avenue of the Stars, Suite 1400     1717 Arch Street, Suite 4020
    3   Los Angeles, CA 90067-6029               Philadelphia, PA 19103
        Phone: (310) 789-3100                    Tel: (215) 320-5660
    4   Fax: (310) 789-3150                      Fax: (215) 320-5703
    5   Scott Martin (Pro Hac Vice)
        smartin@hausfeld.com
    6   HAUSFELD LLP
        33 Whitehall Street, 14th Floor
    7   New York, NY 10004
        Tel: (646) 357-1100
    8   Fax: (2121) 202-4322
    9
        [Additional Counsel on Signature Page]
   10
        Plaintiffs’ Co-Lead Counsel
   11

   12                        UNITED STATES DISTRICT COURT
   13                       CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 DISCOVERY MATTER
   17

   18   THIS DOCUMENT RELATES TO                 JOINT STATUS REPORT
        ALL ACTIONS                              REGARDING THE COURT’S MAY
   19                                            11 ORDER ON PLAINTIFFS’
                                                 MOTION TO COMPEL
   20                                            PRODUCTION OF DOCUMENTS
                                                 BY THE NFL
   21
                                                 Magistrate Judge: Hon. John E.
   22                                            McDermott
                                                 Discovery Cutoff Date: 8/5/2022
   23                                            Pretrial-Conference Date: 2/9/2024
                                                 Trial Date: 2/22/2024
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    1            Pursuant to the Court’s May 11, 2023 Order, Dkt. 934, the NFL Defendants
    2   and Plaintiffs submit the following Joint Status Report regarding an order for the
    3   production of documents relating to the new Sunday Ticket agreements and the
    4   preceding negotiations.
    5            1.   On May 12, 2023, Plaintiffs sent to the NFL Defendants a proposed
    6   search protocol that reflected the statements made by the Court in the May 11, 2023
    7   order.
    8            2.   On May 15, 2023, Plaintiffs and the NFL Defendants met and conferred
    9   to discuss that proposal. The parties agreed that the NFL Defendants will make a
   10   production of documents responsive to Request for Production No. 112 using the
   11   search terms in Plaintiffs’ May 12, 2023 proposal. The NFL Defendants will make
   12   the production within 30 days of the entry of the proposed order attached to this joint
   13   status report.
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           Dated: May 16, 2023           Respectfully submitted,
   16

   17                                          By:    /s/ Tyler Finn
                                                      Tyler Finn
   18
                                                 Marc M. Seltzer (54534)
   19                                            mseltzer@susmangodfrey.com
                                                 SUSMAN GODFREY L.L.P.
   20                                            1900 Avenue of the Stars, Suite 1400
                                                 Los Angeles, CA 90067
   21                                            Tel: (310) 789-3100
                                                 Fax: (310) 789-3150
   22
                                                 William C. Carmody (Pro Hac Vice)
   23                                            bcarmody@susmangodfrey.com
                                                 Seth Ard (Pro Hac Vice)
   24                                            sard@susmangodfrey.com
                                                 Tyler Finn (Pro Hac Vice)
   25                                            tfinn@susmangodfrey.com
                                                 SUSMAN GODFREY L.L.P
   26                                            1301 Avenue of the Americas, 32nd Fl.
                                                 New York, NY 10019
   27                                            Tel: (212) 336-8330
                                                 Fax: (212) 336-8340
   28
                                                 Ian M. Gore (Pro Hac Vice)
                                                 igore@susmangodfrey.com
                                                  2
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                                            SUSMAN GODFREY L.L.P.
    1                                       1201 Third Avenue, Suite 3800
                                            Seattle, WA 98101
    2                                       Tel: (206) 505-3841
                                            Fax: (206) 516-3883
    3
                                            Armstead Lewis (Pro Hac Vice)
    4                                       alewis@susmangodfrey.com
                                            SUSMAN GODFREY L.L.P.
    5                                       1000 Louisiana, Suite 5100
                                            Houston, TX 77002
    6                                       Tel: (713) 651-9366
                                            Fax: (713) 654-6666
    7
                                            Scott Martin (Pro Hac Vice)
    8                                       smartin@hausfeld.com
                                            HAUSFELD LLP
    9                                       33 Whitehall Street, 14th Floor
                                            New York, NY 10004
   10                                       Tel: (646) 357-1100
                                            Fax: (212) 202-4322
   11
                                            Christopher L. Lebsock (184546)
   12                                       clebsock@hausfeld.com
                                            Samuel Maida (333835)
   13                                       smaida@hausfeld.com
                                            HAUSFELD LLP
   14                                       600 Montgomery St., Suite 3200
                                            San Francisco, CA 94111
   15                                       Tel: (415) 633-1908
                                            Fax: (415) 633-4980
   16
                                            Sathya S. Gosselin (269171)
   17                                       sgosselin@hausfeld.com
                                            Farhad Mirzadeh (Pro Hac Vice)
   18                                       fmirzadeh@hausfeld.com
                                            HAUSFELD LLP
   19                                       888 16th Street, N.W., Suite 300
                                            Washington, DC 20006
   20                                       Tel: (202) 540-7200
                                            Fax: (202) 540-7201
   21
                                            Howard Langer (Pro Hac Vice)
   22                                       hlanger@langergrogan.com
                                            Edward Diver (Pro Hac Vice)
   23                                       ndiver@langergrogan.com
   24
                                            Peter Leckman (235721)
                                            pleckman@langergrogan.com
   25
                                            Kevin Trainer (Pro Hac Vice)
                                            ktrainer@langergrogan.com
   26
                                            LANGER GROGAN AND DIVER PC
                                            1717 Arch Street, Suite 4020
   27
                                            Philadelphia, PA 19103
                                            Tel: (215) 320-5660
   28
                                            Fax: (215) 320-5703
                                            Plaintiffs’ Co-Lead Counsel
                                             3
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    1                                       By: /s/ Jeremy S. Barber
                                            Beth A. Wilkinson (admitted pro hac vice)
    2                                       Brian L. Stekloff (admitted pro hac vice)
                                            Rakesh N. Kilaru (admitted pro hac vice)
    3                                       Jeremy S. Barber (admitted pro hac vice)
                                            WILKINSON STEKLOFF LLP
    4                                       2001 M Street NW, 10th Floor
                                            Washington, DC 20036
    5                                       Telephone: (202) 847-4000
                                            Facsimile: (202) 847-4005
    6                                       bwilkinson@wilkinsonstekloff.com
                                            bstekloff@wilkinsonstekloff.com
    7                                       rkilaru@wilkinsonstekloff.com
                                            jbarber@wilkinsonstekloff.com
    8
                                            Neema T. Sahni (Bar No. 274240)
    9                                       COVINGTON & BURLING LLP
                                            1999 Avenue of the Stars
   10                                       Suite 1500
                                            Los Angeles, CA 90067-6045
   11                                       Telephone: (424) 332-4800
                                            Facsimile: (424) 332-4749
   12                                       nsahni@cov.com
   13                                       Gregg H. Levy (admitted pro hac vice)
                                            Derek Ludwin (admitted pro hac vice)
   14                                       COVINGTON & BURLING LLP
                                            One CityCenter
   15                                       850 Tenth Street NW
                                            Washington, DC 20001
   16                                       Telephone: (202) 662-6000
                                            Facsimile: (202) 662-6291
   17                                       glevy@cov.com
                                            dludwin@cov.com
   18
                                            Counsel for Defendants National Football
   19                                       League, NFL Enterprises LLC, and the
                                            Individual NFL Clubs
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